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IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF MARYLAND AUG 0-7 2019
UNITED STATES OF AMERICA SRS BRET coun
Vv. ” DEPUT
LEE ELBAZ Criminal Action No. TDC-18-0157

Defendant.

 

REGULAR SENTENCING ORDER

(1) On or before Tuesday, September 10, 2019 (not more than 40 days from the date of
this order), the Probation Officer shall provide the initial draft of the presentence report to counsel
for the Defendant for review with the Defendant. If the Defendant is in pretrial detention,
defense counsel may not provide a copy of the recommendations section of the presentence
report to the Defendant in advance of meeting to review the presentence report, and may not
leave the recommendations section of the presentence report with the Defendant once the review
has taken place. The Probation Officer shall also provide the initial draft of the presentence
report to counsel for the Government.

(2) On or before Tuesday, September 24, 2019 (not less than 14 days from date in
paragraph 1), counsel shall submit, in writing, to the Probation Officer and opposing counsel, any
objections to any material information, sentencing classifications, advisory sentencing guideline
ranges, or policy statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

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made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon.

(4) On or before Monday, October 07, 2019 (not less than 11 days from date in paragraph
2), the Probation Officer shall file the report (and any revisions and addendum thereto) through
CM/ECF.

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before

Monday, November 25, 2019 (not less than 14 days before sentencing), a statement containing (a)
the names of the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of
the anticipated length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before
Monday, November 25, 2019 (not less than 14 days before sentencing). Copies of all memoranda
must be sent to the Probation Officer.

(7) Any motions relating to sentencing, including motions for a continuance, shall
be filed and delivered to chambers on or before Monday, November 25, 2019 (14 days before
sentencing). No motions for a continuance filed after this deadline will be granted absent
extraordinary circumstances. Any responses to motions shall be filed on or before Monday,
December 02, 2019 (7 days before sentencing). No reply memoranda shall be filed.

(8) | Any other written materials relating to sentencing, including but not limited to
letters or statements by the defendant, family members, victims, or others, shall be delivered to

chambers no later than Monday, December 02, 2019 (7 days before sentencing).

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(9)  Ifeither party intends to seek a change in the defendant’s release status at
sentencing, including requiring the defendant to be taken into custody immediately following
sentencing, that party shall inform the Court, opposing counsel and the Pretrial Services Officer
on or before Friday, December 06, 2019 (3 days before sentencing). Failure to do so may result in
denial of the requested change.

(10) Sentencing shall be on Monday, December 09, 2019 at 2:00pm.

(11) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before
or during the sentencing hearing.

(12) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

August 7, 2019 LE A—

Date George J. Hazel
United States District Judge

 

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